                 Case 1:12-cr-00057-JRH-BKE Document 183 Filed 10/14/15 Page 1 of 1
AO 24?(l01ll) OrderRegardms
                          Mot;onfof SenteDce            to l8 U.S.C.$ 358?(c)(2)
                                          RedrcdonPursuant                                                                    ior PubLic
                                                                                                                                       DKciDsure)


                                                                                                                    't 'll;';ti?rTn!$l
                                                    UNITED STATESDISTRICTCOURT
                                                               for the
                                                         SouthernDistrict of Georgia
                                                               AugustaDivision
                    United Statesof America
                                                                                                              ;LINT
                                                                         )
                                   V.                                    )
                                                                         ) C a s e N o : l : 1 2 C R 0 0 0 5I 7 -
                           GradyL. West
                                                                         ) LIS\4NO:
Dateof Original
             Judgment:                      November
                                                   8,2012                ) John R. Taylor
Date of PreviousAmended Judgment: Not Applicable                         )   Defendant'sAttorney
(Use Dak of Latt Anended Judgnent iJ Anr)


                     Order Regarding Motion for SentenceReduction Pursuant to 18 U.S'C. $ 3582(c)(2)

        Upon motion of Ithe defendant!the Directorof the Bureauof Prisonsflthe court under l8 U.S.C.
$ 35S2(cX2)  for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrangethat has
subsequentlybeen lowered and maderetroactiveby the United StatesSentencingCommissionpursuantto 28 U,S.C.
$ 99a(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ 181.10 and
the sentencingfactors set forth in 18 U.S.C. $ 3553(a),to the extent that they are applicable,

IT lS ORDER-EDthat lhe motionis:
                                                                                                  judsnenl
 S OfNmU. ! Cn,tWfeO and the defendant'spreviously imposedsentenceof imprisonmentfasrcJtected
                                                                                           inthetast
              ksue/ of        months is reduced to


                                            (CompletePqrts I and II of Page 2 when motion is grqnted)




Exceptasotherwiseprovidedabove,all provisionsofthejudgmentdated                       November8,2012 shallremainin effect.
IT IS SO ORDERID.
                              //
Order Date:              / O/ry / 24/J-
                    -.-.-..|-



                                                                             J. RandalHall
EffectiveDate: November1, 2015                                               United StatesDistrict Judge
                (rfdiferentfrom orderdatel
